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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

MICHAEL DAILY,                                   §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §          CIVIL ACTION NO. 3:10-CV-00201
                                                 §
DALLAS COUNTY COMMUNITY                          §
COLLEGE DISTRICT,                                §
                                                 §
       Defendant.                                §


                      PLAINTIFF’S FIRST AMENDED COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW Michael Daily, Plaintiff in the above-styled and numbered cause

(“Plaintiff”), and files this, his First Amended Complaint against the Dallas County Community

College District (“DCCCD” and/or “Defendant”), and in support thereof would respectfully

show the Court the following:

                                              I.
                                         THE PARTIES

       1.1     Plaintiff is an individual residing in Dallas County, Texas.

       1.2     Defendant is a community college district organized and existing pursuant to the

laws of the State of Texas for the purpose of operating a system of community colleges in and

around Dallas County, Texas. The address of Defendant’s administrative offices is 1601 South

Lamar Street, Dallas, Dallas County, Texas 75215. Defendant may be served with process by

serving its Chancellor, Dr. Wright Lassiter, at the foregoing address; however, upon the filing of

Plaintiff’s Original Complaint on February 1, 2010, Plaintiff requested a Waiver of Service of

Summons from Defendant on the same date, in lieu of formal service, by forwarding the Waiver,



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along with a copy of Plaintiff’s Original Complaint, to Defendant by and through its Chancellor, Dr.

Wright Lassiter, and its general counsel, Robert Young. Upon the filing of this Complaint, Plaintiff

will forward a copy of same to Defendant by and through its Chancellor, Dr. Wright Lassiter, and

its general counsel, Robert Young, and the time for Defendant to respond to this Complaint is

governed by Rule 15(a)(3) of the Federal Rules of Civil Procedure. Defendant is being sued in its

name and own right as the employer of Plaintiff under Title VII of the Civil Rights Act of 1964,

under Chapter 21 of the Texas Labor Code, for federal and state constitutional and/or statutory

violations, for breach of contract, and under the Federal Declaratory Judgment Act.

                                                II.
                                     JURISDICTION AND VENUE

           2.1.     This Court has jurisdiction over this matter pursuant to the United States

Constitution, particularly the First, Fifth, and Fourteenth Amendments, and under federal

statutory law, particularly Title VII of the Civil Rights Act of 1964 (“Title VII”),1 42 U.S.C. §§

1981, 1981a, 1983, 1985, and 1988, and the Federal Declaratory Judgment Act.2

           2.2      This Court is vested with original and supplemental jurisdiction over these claims

by operation of 28 U.S.C. §§ 1331, 1343, and 1367.

           2.3      This Court has in personam jurisdiction over Defendant because it is a community

college district organized and existing pursuant to the laws of the State of Texas, located in the

State of Texas.

           2.4      This Court has pendent jurisdiction over the state law claims asserted by Plaintiff

herein, including the breach of contract claim and those claims asserted under the Texas

Constitution, Chapter 21 of the Texas Labor Code, Chapter 106 of the Texas Civil Practice and


1
    42 U.S.C. §§ 2000e et seq.
2
    28 U.S.C. § 2201.


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Remedies Code, Chapter 271 of the Texas Local Government Code, and Texas common law

and/or statute.

       2.5        Venue lies in this judicial district pursuant to 28 U.S.C. § 1391 because it is the

judicial district in which Defendant resides and in which a substantial part of the events or

omissions giving rise to the claim occurred.

       2.6        Additionally, an actual controversy exists between the parties hereto within the

meaning of 28 U.S.C. § 2201, and this Court is, therefore, vested with the power in the instant

case to declare and adjudicate the legality and/or constitutionality of the actions and/or conduct

by Defendant against Plaintiff.

                                             III.
                                    FACTUAL BACKGROUND

       3.1        Plaintiff is a current employee of Defendant, and he has been an employee of

Defendant for approximately the past nine years. Plaintiff spent the first year of his employment

with Defendant serving as an Assistant Accountant at Defendant’s Service Center, and since that

time, Plaintiff has been employed by Defendant as a full-time instructor at Defendant’s Cedar

Valley College Campus (“CVC”). Also, beginning with the second year of his employment up

until approximately the spring of 2009, Plaintiff was actively involved in Defendant’s prison

program as a normal part of his employment with Defendant. At all relevant times, Defendant’s

prison program was and still is associated with and supervised by CVC.

       3.2        Plaintiff spent the first four years of his involvement with Defendant’s prison

program by working at the federal prison located in or around Seagoville, Texas. Thereafter,

Plaintiff spent the next three years of his involvement with Defendant’s prison program at the

state prison located in or around Hutchins, Texas, which continued until approximately the

spring of 2009 when such involvement ended at the direction and decision of certain individuals



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employed by Defendant at CVC. Throughout Plaintiff’s employment with Defendant, he has

received overall performance evaluations of “exceeds standards of performance.” In fact, as

recently as February 24, 2009, Plaintiff received an “exceeds standards of performance”

evaluation from his immediate supervisor, Dean Ruben Johnson (“Dean Johnson”), and his three

year contract with Defendant was renewed on or about May 11, 2009.

       3.3     The incidents giving rise to Plaintiff’s claim began in or around August 2008, and

since that time, Plaintiff has been continuously subjected to race and/or color discrimination, as

well as retaliation and adverse employment actions, by certain individuals employed by

Defendant at CVC, which is still ongoing. The specific individuals employed by Defendant that

have been the main participants orchestrating and/or involved with the discrimination,

retaliation, and adverse employment actions against Plaintiff include: (1) Dean Johnson, who is

and has been Plaintiff’s immediate supervisor at all relevant times; (2) Dr. Savannah Jones, who

is the former Vice-President of Instruction at CVC (“Dr. Jones”); (3) Dr. Jennifer Wimbish, who

is and has been the College President of CVC at all relevant times (“Dr. Wimbish”); and (4) Dr.

Diane Minger, who is and has been the Program Coordinator at CVC at all relevant times (“Dr.

Minger”) (collectively referred to herein as the “CVC Administration”).

       3.4     Pursuant to Defendant’s policies, procedures, guidelines, rules, and/or regulations,

full-time instructors, such as Plaintiff, are required to teach five classes as a part of their base

load; however, because Plaintiff had been providing administrative leadership for Defendant’s

prison program, Plaintiff received 40% release time in exchange for his prison coordinator duties

so that two classes that Plaintiff would have been normally required to teach were excused,

without any reduction in pay. Therefore, during the time that Plaintiff served as the prison

coordinator of Defendant’s prison program, he was only required to teach three classes as a part




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of his base load, all of which were classes taught on the actual campus of CVC. In addition to

Plaintiff’s regular course load of three classes, the historical and customary practice of Defendant

was to provide Plaintiff with extra service classes, which typically consisted of three additional

off-campus classes taught at the prison facilities.

       3.5     In or around July 2008, Plaintiff was informed by the CVC Administration that he

had the opportunity to teach full-time and cease providing administrative leadership (i.e., serving

as the prison coordinator) to Defendant’s prison program.          Previously, Plaintiff had asked

Defendant for additional assistance with his duties as the prison coordinator for the state prison

program because that program had grown tremendously since the time that Plaintiff became its

prison coordinator. At that time, Plaintiff was only receiving 40% release time (the equivalent of

two classes), and because of the size of the state prison program, Plaintiff’s role as prison

coordinator required much more time than the equivalent of two classes. Because Defendant had

ignored Plaintiff’s requests for additional assistance and/or more release time, Plaintiff advised

the CVC Administration of his interest in teaching full-time if he could obtain additional campus

classes at CVC. If Plaintiff would no longer be providing administrative leadership for the

prison program, Plaintiff needed to teach two additional classes to make up for the 40% release

time that he was receiving because of his role as prison coordinator, or else, Plaintiff would

suffer a substantial loss of income. Therefore, in conjunction with attempting to teach full-time

and obtaining the additional two classes, Plaintiff requested to teach at least one of the additional

classes on the actual campus of CVC for the fall 2008 semester. Plaintiff was qualified to teach

the additional campus class requested, and furthermore, the additional campus class was the

same course that Plaintiff had previously taught during his employment with Defendant.




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       3.6     Despite Plaintiff’s reasonable request, Plaintiff was subsequently advised by Dean

Johnson in or around August 2008 that he would not permit Plaintiff to obtain any additional

campus classes at CVC. Dean Johnson advised Plaintiff that Plaintiff would only be permitted to

obtain additional off-campus classes taught at the prison facilities. In response, Plaintiff advised

Dean Johnson that this would violate Defendant’s “Reduction Criteria” Policy because it would

require Plaintiff to take classes away from more senior adjunct instructors at the prison facilities,

rather than from less senior adjunct instructors teaching classes on CVC’s campus. Despite

notice of the potential violation, Dean Johnson insisted that Plaintiff would only be permitted to

obtain the two additional requisite classes by teaching off-campus classes at the prison facilities.

       3.7     The foregoing conduct was racially motivated and/or constituted race and/or color

discrimination against Plaintiff because Dean Johnson is African American, and subsequent to

Plaintiff’s request, Dean Johnson allowed Sheila Simon, an African American instructor (“Ms.

Simon”), who held a similar faculty position to Plaintiff within Defendant’s prison program, to

obtain an additional campus class at CVC when she made a similar request.

       3.8     Prior to Defendant removing Plaintiff as the prison coordinator for the state prison

program, Ms. Simon and Plaintiff were similarly situated because they were the only full-time

instructors within Defendant’s prison program. Further, Ms. Simon and Plaintiff were the only

two prison coordinators. However, Plaintiff had been a prison coordinator with Defendant’s

prison program for a longer tenure than Ms. Simon. Plaintiff helped start Defendant’s prison

program by serving as the sole prison coordinator of the federal prison when it was the only

prison within Defendant’s prison program. Subsequently, when the state prison became a part of

Defendant’s prison program, Plaintiff became the prison coordinator at the state prison because it




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was larger and would require more experience, and Ms. Simon replaced Plaintiff as the prison

coordinator at the federal prison.

       3.9     Despite the foregoing, Dean Johnson elected to provide Ms. Simon with

preferential treatment, based on race and/or color, by allowing her to obtain an additional campus

class at CVC shortly after he denied Plaintiff’s similar request in the fall of 2008. The rules

imposed against Plaintiff by Dean Johnson regarding Plaintiff’s ability to obtain additional

campus classes were unique to Plaintiff. As set forth above, these rules were not and still are not

being applied to Ms. Simon, who at all relevant times held a similar faculty position to Plaintiff.

       3.10    Additionally, Dean Johnson instructed and/or collaborated with Dr. Minger, who

is responsible for assigning courses to CVC’s faculty and instructors, to exclude Plaintiff from

any consideration for campus courses taught at CVC. Dr. Minger, in previous semesters, found

Plaintiff to be qualified to teach the campus courses sought by Plaintiff and has even invited

Plaintiff to teach them, but of course, this ceased once Plaintiff filed grievances and an EEOC

Charge opposing the racial and/or color discrimination, as well as the retaliation resulting from

such opposition. Once again, no such restriction was or has been imposed on Ms. Simon.

       3.11    In or around September 2008, in an effort to resolve Plaintiff’s then current

situation, Plaintiff agreed to meet with Dr. Wimbish. Subsequently, Dr. Wimbish suggested the

use of an outside ombudsperson, Dr. Bettie Tully (“Dr. Tully”), to resolve the situation, and

Plaintiff agreed to participate in an attempt to bring closure to the matter. In the interim period

prior to the meeting with Dr. Tully, Dean Johnson presented Plaintiff with an extra service

contract, which Plaintiff historically and customarily received during his employment with

Defendant; however, without Plaintiff’s knowledge or consent, Dean Johnson had unilaterally

modified the contract so that Plaintiff no longer taught three campus classes at CVC as a part of




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his base teaching load. Under the modified contract, one of Plaintiff’s previous off-campus

classes replaced one of his campus courses in his base teaching load. Luckily, Plaintiff brought

this unilateral change to Defendant’s attention, and Plaintiff was able to have Dean Johnson’s

unilateral and retaliatory change reversed.

       3.12    As a result of the meeting with Dr. Tully, Plaintiff and Defendant agreed that

Plaintiff would be kept advised of any campus classes that became available for him to teach,

and more importantly, both parties agreed that Plaintiff would be permitted to obtain campus

classes that became available and that he was qualified to teach. Also, under the agreement,

Plaintiff would continue to teach at least three campus classes at CVC and three off-campus

classes at the prison facilities. Despite the agreement, additional campus classes at CVC, for

which Plaintiff was qualified to teach, became available, but Plaintiff was never advised of their

availability, never permitted to obtain them, and/or never even considered for them.

       3.13    Additionally, subsequent to the agreement, Dean Johnson awarded another

campus class to Ms. Simon; however, this time, the campus class awarded to Ms. Simon was one

of Plaintiff’s campus classes, which was a class that Plaintiff had been teaching for several years.

Dean Johnson took that campus class away from Plaintiff without ever attempting to discuss the

change with Plaintiff. Plaintiff eventually learned of this change through a third party, not from

Dean Johnson. When Plaintiff requested a meeting with full-time faculty members at CVC to

explore viable options with respect to scheduling campus classes, Plaintiff’s request was denied.

Subsequently, Plaintiff brought the ongoing matter to the attention of Dr. Jones, who is also

African American, and in response, Dr. Jones simply chose not to take any action.

       3.14    Thereafter, the schedule for the fall 2009 semester was set, and one of Plaintiff’s

three campus classes at CVC was awarded to Ms. Simon, who has less seniority, academic




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credentials, and professional experience. Additionally, the times of Plaintiff’s two remaining

campus classes at CVC were modified to accommodate an adjunct instructor, who is African

American. The only reason proffered to Plaintiff for the rescheduling of his two then remaining

campus classes at CVC was that the adjunct instructor wanted to have his classes scheduled so

that they were one right after the other.

        3.15     In addition to the foregoing, there are several other instances that occurred, which

demonstrate that Dean Johnson’s actions against Plaintiff were racially motivated and/or

constitute intentional race and/or color discrimination. For example, over the Christmas holidays

of 2008-09, Plaintiff signed an extra service contract for twenty-seven hours. When Plaintiff

worked all of the allotted extra service hours, Plaintiff asked Dean Johnson for some additional

hours to complete his assignment. Dean Johnson refused the request and advised Plaintiff that he

had to complete all of the work for just the twenty-seven hours of compensation. Plaintiff

ultimately completed all of the work, which took a total of forty-four hours and noted the actual

time to ensure proper reporting; however, upon receipt of Plaintiff’s timesheet, Dean Johnson

modified it to reflect that Plaintiff only actually spent twenty-seven hours.                     Plaintiff only

received compensation for twenty-seven of the forty-four hours that he actually worked.3 This

conduct is racially discriminatory and/or retaliatory in light of the fact that during the summer of

2008, Ms. Simon, who was employed by Defendant at CVC at a lower wage than Plaintiff, was

instructed by Dean Johnson to turn in a timesheet for more hours than she actually worked to

ensure that she received the maximum amount of pay available to her.

        3.16     Also, Dean Johnson had refused to provide Plaintiff with the evaluations from

Plaintiff’s class that Dean Johnson had visited during the fall 2007 semester. Plaintiff requested

3
  Dr. Wimbish has since ordered that Plaintiff be paid for the additional hours; however, despite repeated requests
for the payment, the check was only recently issued after Dr. Lassiter inquired of Dr. Wimbish, in a meeting on or
about January 4, 2010, as to why the payment had not been made.


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such evaluations on two separate occasions, yet, only received the evaluations on or about April

16, 2009. Subsequently, Dean Johnson e-mailed Plaintiff, after only one week, wanting to know

when Plaintiff would return the evaluations with his comments and signature. Typically, Dean

Johnson provided instructors at CVC with their evaluations shortly after his visits, but Dean

Johnson chose to apply a different practice and/or standard when it came to Plaintiff’s

evaluations.

       3.17    Additionally, Defendant’s policies, procedures, guidelines, rules, and/or

regulations require Plaintiff’s release time to be documented in his contract; however, Dean

Johnson never made such documentation. Further, upon information and belief, Defendant

employed an African American instructional associate, Timica Hamilton, and Dean Johnson

permitted her to work on her extra service contract classes during office hours, which is

prohibited under CVC’s policies, procedures, guidelines, rules, and/or regulations. This same

instructional associate also had a campus course load that was larger than Plaintiff’s course load,

which is highly unusual given the historical practice of Defendant. Finally, Dean Johnson

awarded a computer class, taught on campus at CVC, to an African American instructor, Mr.

Freeman. Despite the aforementioned agreement, Dean Johnson never advised Plaintiff of its

availability, never permitted Plaintiff with an opportunity to obtain it, and never even considered

Plaintiff for the class. Ms. Simon, who Dean Johnson awarded a campus class taken from

Plaintiff, was also qualified to teach the class awarded Mr. Freeman, and she could have been

given that class rather than Dean Johnson taking away one of Plaintiff’s campus classes at CVC.

       3.18    The foregoing conduct of Dean Johnson, and others, demonstrates a pattern

and/or history of race and/or color discrimination against Plaintiff, which is still ongoing. Dean

Johnson’s conduct constitutes unlawful employment practices and such conduct has adversely




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affected Plaintiff’s employment with Defendant.        Additionally, the foregoing conduct also

evidences that Dean Johnson chose to retaliate against Plaintiff because of his opposition to the

race and/or color discrimination.

       3.19    With respect to all of the foregoing discriminatory actions and/or conduct, Dean

Johnson and/or Defendant only provided Plaintiff with an alleged reason for Dean Johnson

taking away one of Plaintiff’s campus classes and giving it to Ms. Simon. The proffered reason

was that Dean Johnson gave Ms. Simon one of Plaintiff’s campus classes because she only had

one campus class at the time, and Plaintiff had three campus classes. However, as evidenced

above, this alleged reason fails because Dean Johnson could have given a different campus class

to Ms. Simon, but instead, Dean Johnson chose to give the other available campus class to

another African American instructor at CVC.

       3.20    As set forth above, Plaintiff and Ms. Simon were the only full-time instructors

within Defendant’s prison program; however, Plaintiff had been a prison coordinator and

instructor within Defendant’s prison program for a longer tenure than Ms. Simon. Despite this

fact, Dean Johnson allowed Ms. Simon to obtain additional campus classes after he denied

Plaintiff’s similar request, and as such, Dean Johnson elected to provide Ms. Simon with

preferential treatment, for no other reason than because of her race and/or color.

       3.21    The rules imposed against Plaintiff by Dean Johnson regarding Plaintiff’s ability

to obtain additional campus classes are unique to Plaintiff, and moreover, they are in breach of

the previous agreement reached between Plaintiff and Defendant. As set forth above, Dean

Johnson’s arbitrary and capricious rules have not been applied to Ms. Simon, who held a similar

faculty position to Plaintiff. Additionally, as set forth above, Dean Johnson: (1) permitted Ms.

Simon to turn in a timesheet for more hours than she actually worked to ensure that she received




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the maximum amount of pay available to her, and at the same time, Dean Johnson forced

Plaintiff to forego compensation for hours that Plaintiff had actually performed; (2) upon

information and belief, permitted an African American instructional associate, Timica Hamilton,

to work on her extra service contract during office hours, despite the fact that such conduct was

prohibited under CVC’s policies, procedures, guidelines, rules, and/or regulations; and (3)

awarded a computer class taught on CVC’s campus, to an African American instructor, Mr.

Freeman, without ever advising Plaintiff of its availability, permitting Plaintiff with an

opportunity to obtain it, and even considering Plaintiff for the class, despite the aforementioned

agreement between Plaintiff and Defendant.

        3.22    As a result of the foregoing discriminatory and/or retaliatory conduct, on or about

April 22, 2009, Plaintiff filed a grievance against Dean Johnson pursuant to and in accordance

with Defendant’s policies, procedures, guidelines, rules, and/or regulations. Also, on or about

April 22, 2009, Plaintiff filed an EEOC Charge, based upon discrimination and retaliation, with

the EEOC, which was dual-filed with the Texas Workforce Commission, Civil Rights Division.

Despite the fact that Plaintiff sought protection and redress for the aforementioned wrongful

conduct, the discriminatory and/or retaliatory treatment against Plaintiff continued, and more

importantly, it intensified.

        3.23    After Plaintiff filed his original EEOC Charge and original grievance, Dr. Jones

retaliated against Plaintiff for filing his original EEOC Charge and original grievance. On or

about April 29, 2009, Dr. Jones was provided with a copy of Plaintiff’s April 22, 2009 grievance

because Dean Johnson had not responded, as was required by Defendant’s policies, procedures,

guidelines, rules, and/or regulations. According to Defendant’s policies, procedures, guidelines,

rules, and/or regulations, Dean Johnson was required to discuss Plaintiff’s grievance with




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Plaintiff, and then provide Plaintiff with his written response, all within five business days.

However, Dean Johnson failed to ever discuss Plaintiff’s April 22, 2009 grievance with Plaintiff,

and Dean Johnson provided Plaintiff with his written response after the time prescribed.

       3.24    On or about April 30, 2009, Plaintiff sent Dean Johnson and Dr. Jones an e-mail

in which Plaintiff stated that Dean Johnson’s response “is factually incorrect on several counts

and I will, if you so desire, be prepared to show you documentation of that when you and I meet

to discuss my grievance.” Instead of discussing his April 22, 2009 grievance with Plaintiff, as

was required by Defendant’s policies, procedures, guidelines, rules, and/or regulations, Dr. Jones

elected to only submit her written response to Plaintiff, which he received on or about May 6,

2009. Dr. Jones’ response violated Defendant’s policies, procedures, guidelines, rules, and/or

regulations because she was required to discuss the grievance with Plaintiff prior to submitting

her written response. However, no such discussion ever occurred prior to the time that Dr. Jones

provided Plaintiff with her written response.

       3.25    Although Dr. Jones failed to comply with Defendant’s policies, procedures,

guidelines, rules, and/or regulations by meeting with Plaintiff before submitting her written

response, Dr. Jones met and/or had conversations with Dean Johnson, in order to gather

information, prior to submitting her May 6, 2009 written response to Plaintiff. Dr. Jones’ written

response was biased and, therefore, inherently flawed. Dr. Jones’ written response stated that “a

charge of racial discrimination against Dean Johnson is a charge of racial discrimination against

me (Dr. Jones),” as she approved Dean Johnson’s actions and conduct. Also, Dr. Jones’ bias was

demonstrated in her willingness to collaborate with others in writing her response, but not taking

the time to discuss the matter with Plaintiff prior to submitting her response. Dr. Jones sought

information from those pre-inclined to support her biased view while ignoring Plaintiff’s




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admonition that Dean Johnson’s written response was flawed. Because Dr. Jones only sought

information from those who supported her biased view, her written response perpetuated the

errors contained in Dean Johnson’s flawed written response.

       3.26    On or about May 12, 2009, Dr. Jones met with Plaintiff, Dr. Tommy Thompson,

who is Defendant’s Faculty Association President (“Dr. Thompson”), and Debbie Speck, who is

and has been CVC’s Human Resources Director since Plaintiff’s grievance was filed (“Ms.

Speck”). During that meeting, Dr. Jones confirmed that she had not and was not monitoring any

other CVC faculty in the same manner as she was monitoring Plaintiff. Also, during that

meeting, Plaintiff presented documents and/or asked questions that refuted Dr. Jones’ written

response, to which Dr. Jones responded by stating that Plaintiff was “manipulative.” In addition,

during that meeting, Dr. Jones asked Plaintiff, on two occasions, if he wanted to continue as the

prison coordinator of the state prison program, and in response on both occasions, Plaintiff

confirmed that he did want to continue in that capacity; however, Dr. Jones stated, “I do not

believe you. I feel you no longer want to be the coordinator.”

       3.27    Additionally, during the May 12, 2009 meeting, Plaintiff asked Dr. Jones, on two

occasions, if she felt that Plaintiff had been treated fairly by Dean Johnson, and in response, Dr.

Jones confirmed her belief that Dean Johnson’s treatment towards Plaintiff had been fair. When

Plaintiff asked Dr. Jones if she felt Dean Johnson would treat him fairly going forward, Dr. Jones

responded in the affirmative. However, when Plaintiff then asked Dr. Jones why it would be

necessary to have a third party in any future meetings between Dean Johnson and Plaintiff and

why it would be necessary to limit Plaintiff’s interaction with Dean Johnson by removing

Plaintiff as the prison coordinator of the state prison program (both of which were




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recommendations of Dr. Jones in her written response of May 6, 2009), Dr. Jones responded that

such actions were necessary “to protect you.”

       3.28     Further, during the May 12, 2009 meeting, Dr. Jones reiterated her written threat

concerning loss of income by stating that Defendant was only obligated to provide Plaintiff with

five courses. When Plaintiff pointed out that to do so would mean a large reduction in his

income per year, Dr. Jones stated that she could not make decisions based on any one person’s

personal finances. Dr. Jones then asked if she could send out an email saying that she was

reconsidering her original response, but added that “it won’t make any difference anyway.” She

then asked for an additional week to rewrite her response, and not knowing any better, Plaintiff

agreed. However, to date, no modifications have been made to the May 6, 2009 written response

of Dr. Jones.

       3.29     During this same meeting with Dr. Thompson and Plaintiff, Dr. Jones stated that

there were “performance reasons” why a class had been taken from Plaintiff; however, no

performance review existed at that time that contained any indication that Plaintiff’s performance

was deficient in any way. In fact, as previously stated, in Plaintiff’s most recent evaluation,

Plaintiff received an “exceeds standards of performance” rating, and his three year contract with

Defendant was renewed on or about May 11, 2009.

       3.30     Dr. Jones then asked Plaintiff to meet with her on or about May 19, 2009 to

discuss a “proposal.” Subsequently, on or about May 20, 2009, Plaintiff met with Dr. Jones, and

during that meeting, Dr. Jones informed Plaintiff that he would be relieved of his prison

coordinator duties. Dr. Jones then discussed various teaching options for the fall 2009 semester;

however, none of the offerings provided Plaintiff with any protection from Dean Johnson.




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       3.31    Prior to being informed by Dr. Jones on or about May 20, 2009 that he was being

relieved of his prison coordinator duties, Defendant had already notified its client, the Texas

Department of Criminal Justice, of the change in leadership at the state prison program, without

informing Plaintiff at that time.     Plaintiff was notified of the change during a telephone

conversation with the Texas Department of Criminal Justice. More specifically, during that

conversation, the Texas Department of Criminal Justice inquired about the validity of the

information given to it that Dean Johnson would be coordinating the state prison program. This

notification resulted in extreme personal embarrassment, professional humiliation, and emotional

distress to both Plaintiff and his family. Further, Defendant’s conduct resulted in a loss of

professional stature to Plaintiff because the Texas Department of Criminal Justice believed that

Plaintiff had been terminated from his prison coordinator duties.

       3.32    Since the time that Plaintiff filed his original EEOC Charge and original

grievance, additional adverse and retaliatory employment actions were taken against Plaintiff.

After Plaintiff filed his original EEOC Charge and original grievance, Plaintiff was removed as

the prison coordinator for the state prison program, and he was replaced by an African American.

The proffered reason given by Defendant for removing Plaintiff as prison coordinator of the state

prison program was that Defendant was to limit the interface between Plaintiff and Dean

Johnson; however, as this situation had progressed, the proffered reason has changed three times.

First, it was changed to Defendant was trying to protect Plaintiff from Dean Johnson. Next, it

was changed to the prison program needed to be evaluated. Finally, it was changed to Plaintiff

wanted to be relieved of his prison coordinator duties. Also, since the time that Plaintiff filed his

original EEOC Charge and original grievance, Defendant reduced Plaintiff’s summer hours in

2009 from 200 hours to 120 hours, resulting in a significant loss of compensation. The new




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African American employee who took over for Plaintiff as prison coordinator was allotted

approximately 222 hours during the summer of 2009.

        3.33     As a result of all of the continuing discriminatory and/or retaliatory conduct, on or

about July 1, 2009, Plaintiff filed a grievance against Dr. Jones pursuant to and in accordance

with Defendant’s policies, procedures, guidelines, rules, and/or regulations. Plaintiff forwarded

this grievance to Dr. Wimbish within the time prescribed.

        3.34     After Plaintiff filed his original EEOC Charge and/or his grievances against his

supervisors at CVC because of their discriminatory and/or retaliatory treatment against him, Dr.

Wimbish began a course of discriminatory and/or retaliatory actions against Plaintiff, which

resulted in Plaintiff filing a grievance against her on or about August 5, 2009.4 This grievance

was ultimately forwarded to Dr. Wright Lassiter, Defendant’s Chancellor (“Dr. Lassiter”),

pursuant to Defendant’s policies, procedures, guidelines, rules, and/or regulations, who in turn

appointed Executive Vice Chancellor Ed DesPlas to act as a “Grievance Officer.”

        3.35     On or about October 8, 2009, Plaintiff received a letter from Dr. Lassiter, in

which Dr. Lassiter approved the binding recommendations written and issued by Mr. DesPlas on

or about October 5, 2009, which consisted of four specific recommendations (the

“Recommendations”). In his letter, Dr. Lassiter stated that the Recommendations require actions

of the CVC Administration.             Further, in his letter, Dr. Lassiter suggested the use of his

ombudsperson, Dr. Tully (who was previously utilized by Plaintiff and Dr. Wimbish, as noted

above), to facilitate future meetings and interactions between Dr. Minger, Dean Johnson, and

Plaintiff. Dr. Lassiter’s letter was addressed to both Plaintiff and Dr. Wimbish.




4
 As of the date that Plaintiff filed his grievance against Dr. Wimbish, Dr. Wimbish still had not provided Plaintiff
with her response to his grievance against Dr. Jones.


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       3.36    The Recommendations reiterate that Plaintiff’s grievance against Dr. Wimbish

alleged that she violated and failed to follow Defendant’s grievance policies, procedures,

guidelines, rules, and/or regulations and that she had discriminated and retaliated against Plaintiff

for him having filed grievances against Dean Johnson and Dr. Jones, as well as Plaintiff’s

original EEOC Charge. The Recommendations acknowledge that Plaintiff had filed his original

EEOC Charge regarding the matters at issue. Further, while the Recommendations state that

Defendant believed that Plaintiff was not harmed as a result of Dr. Wimbish’s perceived

violation and failure to follow Defendant’s grievance policies, procedures, guidelines, rules,

and/or regulations, the Recommendations state that “[t]he concern asserted by Mr. Daily does

indicate a need for a brief training for Presidents and others who may preside over grievances.”

       3.37    The four specific recommendations comprising the Recommendations state the

following:

       (1)     “Mr. Daily should be assigned to Cedar Valley College on a full-time
               basis; splitting his load between the prison/jail and the college should be
               discontinued. Mr. Daily needs to recognize that CVC is obligated to
               provide for his full time employment; extra service duties are contracted at
               the mutual agreement of the college and the faculty member.”

       (2)     “Mr. Daily should be consulted as he and his program coordinator
               collaborate to meet student and division needs in assigning the sections he
               will teach. CVC management should strive to assemble a schedule for Mr.
               Daily that enables him to have an efficient and cohesive work day and
               work week. By this, I mean that unnecessary large gaps of time between
               classes be avoided.”

       (3)     “Mr. Daily, his program coordinator (Ming[er]) and his dean (Johnson)
               should meet regularly (bi-weekly? – no less than monthly) with an
               ombudsperson to endeavor to improve working relationships within the
               division.”

       (4)     “Mr. Daily should be appropriately supported if he were to pursue a
               vacancy at another one of the DCCCD colleges. Dr. Wimbish’s response
               (9/08/09) to Mr. Daily’s grievance against Dr. Jones stated ‘It is important




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               for me to state that I will not do anything to hinder your transfer to another
               college.’”

       3.38    Upon receipt of the Recommendations, Plaintiff and Dr. Thompson met with Dr.

Wimbish regarding the Recommendations on or about October 12, 2009, which was just four

days after the date of Dr. Lassiter’s letter approving of and enclosing the Recommendations and

a full two weeks prior to the deadline for the final revisions to the spring 2010 schedule. Despite

the fact that the Recommendations were binding (as confirmed by Defendant’s own counsel),

during that meeting, Dr. Wimbish expressed her extreme dissatisfaction with the

Recommendations and stated that she was going to appeal the Recommendations.

       3.39    During the October 12, 2009 meeting, Plaintiff and Dr. Wimbish agreed that the

courses Plaintiff was set to start the following day at the state prison facility would be postponed

by one week to allow time for the parties to map out a plan going forward. That evening, Dr.

Wimbish called Plaintiff at home and stated that she had checked with Mr. DesPlas and that she

would implement the class changes beginning in the spring. Then, Dr. Wimbish became hostile

toward Plaintiff, and the following day, Plaintiff became aware of the fact that Dr. Wimbish was

preparing a letter to send to Plaintiff that stated if Plaintiff failed to meet the class (which Dr.

Wimbish and Plaintiff had previously agreed to postpone), Plaintiff would be subject to

“disciplinary action, including termination.” Pursuant to Dr. Wimbish’s threat (made less than

twenty-four hours after Dr. Wimbish and Plaintiff had previously agreed to postpone the start of

the classes), Plaintiff began teaching the classes at issue.

       3.40    Two weeks later, on or about October 26, 2009, (the last day prior to the deadline

for revisions to the spring 2010 schedule) and in an effort to get Plaintiff’s schedule set and

published in the spring 2010 schedule, Dr. Thompson waited outside Dr. Wimbish’s office for

about an hour to speak with her about the fact that despite the Recommendations, Plaintiff still



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did not have a spring 2010 schedule. Dr. Wimbish knew that Dr. Thompson was waiting to

speak with her; however, she ignored Dr. Thompson’s presence.

       3.41    On or about November 4, 2009, Dr. Thompson and Plaintiff tried to visit with Dr.

Wimbish for a few minutes about the lack of a spring 2010 schedule for Plaintiff; however, once

again, Dr. Wimbish did not have time to discuss the issue. Later that day, Dr. Wimbish called

Dr. Thompson, at which time she committed to have Plaintiff’s spring 2010 schedule to Plaintiff

by November 6, 2009. In that conversation, Dr. Wimbish advised Dr. Thompson that Plaintiff’s

credentials “might not be in order” which would preclude him from teaching in any capacity.

However, Plaintiff’s credentials were reviewed: (a) when he was hired; (b) as a part of preparing

for a regularly scheduled visit by the Southern Association of Colleges and Schools (SACS); (c)

by SACS during their visit; and (d) by an internal auditor of Defendant. No issues have ever

been raised by Defendant prior to Dr. Wimbish’s comment.

       3.42    On or about November 6, 2009, Plaintiff received an e-mail informing him of

what his classes would be for the spring 2010 semester; however, at no point was Plaintiff ever

consulted about his spring 2010 schedule as mandated by the Recommendations. Also, Plaintiff

had previously provided Dr. Wimbish an e-mail on or about October 19, 2009, with some of the

proposed classes for Plaintiff’s spring 2010 schedule.       Dr. Wimbish never responded to

Plaintiff’s October 19, 2009 e-mail. Plaintiff had also re-sent the e-mail on October 22nd and

27th to Dr. Wimbish, but once again, Dr. Wimbish never acknowledged and/or responded to any

of Plaintiff’s e-mails and attempts to confer about his spring 2010 schedule. Dr. Wimbish (who

was put in charge by Defendant of carrying out and implementing the Recommendations)

purposefully and/or intentionally ignored and/or disregarded the Recommendations.




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       3.43    On or about November 9, 2009, Dr. Thompson and Plaintiff met with Ms. Speck,

who possessed a copy of the Recommendations. At that time, Dr. Thompson asked Ms. Speck to

suggest to Dr. Wimbish that Dr. Vivian Lilly, who is the new Vice President of Instruction at

CVC (replacing Dr. Jones), Dean Johnson, and Dr. Minger be provided with a copy of the

Recommendations so that the parties could have a meaningful conversation on this matter at a

meeting to “Discuss Spring Classes” that was called for by the CVC Administration to take place

on or about November 10, 2009.

       3.44    On or about November 10, 2009, Dr. Thompson and Plaintiff attended the

“Discuss Spring Classes” meeting with Dr. Lilly and Dean Johnson. Dr. Minger refused and/or

failed to attend the meeting. Also, the CVC Administration mandated that Ms. Simon attend the

meeting even though there was no reason to include Ms. Simon in a discussion regarding the

Recommendations. During that meeting, Dr. Thompson and Plaintiff informed Dr. Lilly and

Dean Johnson that it would be difficult if not impossible to “Discuss Spring Classes” because Dr.

Wimbish had instructed Plaintiff not to discuss the Recommendations with anyone and the

Recommendations were not previously provided to Dr. Lilly and Dean Johnson. During the

meeting, Dr. Lilly and Dean Johnson became aware that the spring 2010 schedule provided to

Plaintiff via e-mail, on or about November 6, 2009, did not match the requirements of the

Recommendations, although specifics could not be discussed at that time because of Dr.

Wimbish’s mandate.

       3.45    The spring 2010 schedule provided to Plaintiff via e-mail, on or about November

6, 2009, violated the Recommendations because: (1) the schedule was established without any

consultation and/or collaboration with Plaintiff, as mandated by Recommendation No. 1; (2) the

schedule contained a prison assignment in violation of Recommendation No. 1; and (3) the




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schedule did not provide for “an efficient and cohesive work day and work week,” as mandated

by Recommendation No. 2. Additionally, during the November 10, 2009 meeting, Dr. Lilly and

Dean Johnson stated that they had not seen the Recommendations prior to the meeting and,

therefore, the classes were assigned without their knowledge of what the requirements were (as

set forth in the Recommendations). Since the Recommendations had not been communicated to

them, it is no wonder that the schedule provided did not comply with what was recommended.

       3.46    On or about November 11, 2009, Dr. Thompson called Denys Blell, who is

Defendant’s Executive Vice Chancellor of Human Resources (“Mr. Blell”), to ask Mr. Blell to

meet with Plaintiff and Dr. Thompson in light of the fact that up until that point, none of the

Recommendations had been acted on and/or followed. Thereafter, on or about the same date, Dr.

Wimbish e-mailed Plaintiff asking him what his concerns were with respect to her proffered

spring 2010 schedule. On or about November 12, 2009, Dean Johnson interrupted Plaintiff’s

class lecture and asked Plaintiff to send him the classes Plaintiff would like to have, and Plaintiff

sent him such classes later that day (of course, Plaintiff previously sent such classes to Dr.

Wimbish on three previous occasions in October 2009).

       3.47    On or about November 16, 2009, Dean Johnson appeared at Plaintiff’s office door

without notice and wanted to discuss Plaintiff’s spring 2010 schedule with him alone. Even

though that made Plaintiff uncomfortable and did not comport with Recommendation No. 2,

Plaintiff discussed his spring 2010 schedule with Dean Johnson, and they agreed on a set of

classes (at that time, Plaintiff feared that if he did not meet with Dean Johnson, Plaintiff would

be accused of insubordination and be terminated as Dr. Wimbish had previously threatened

Plaintiff with such action in or around October 2009).




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       3.48    After the meeting on or about November 16, 2009, Plaintiff sent Dean Johnson an

e-mail to confirm what they had agreed upon with respect to Plaintiff’s spring 2010 schedule;

however, the next morning, Dean Johnson sent Plaintiff an e-mail, in which he confirmed their

discussion but made a significant change to Plaintiff’s spring 2010 schedule in that Dean

Johnson took away a class from Plaintiff and gave it to Ms. Simon (this is not the first time that

Ms. Simon had been shown preferential treatment of this very nature). Plaintiff later spoke to

Ms. Simon, who had previously stated to Plaintiff that she preferred a different class that was set

to begin at an earlier time, and they quickly agreed to a change in their respective schedules so

that a class was not going to be taken away from Plaintiff and given to Ms. Simon.

       3.49    However, subsequently, Ms. Simon changed her position and began stating that

she wanted the class back since it had been awarded to her. It is important to note that the class

in question had been taught by Plaintiff for several years prior to the fall 2009 semester, and

Dean Johnson had taken that class away from Plaintiff and had given it to Ms. Simon for the fall

2009 semester, over Plaintiff’s objection (this occurred prior to Plaintiff filing his original EEOC

Charge and original grievance, and formed a apart of the basis for those filings). During the

meeting on or about November 16, 2009, Dean Johnson had agreed to give the class back to

Plaintiff; however, less than twenty-four hours after the agreement was made, Dean Johnson

took it back away from Plaintiff and returned it to Ms. Simon because she had objected.

       3.50    Subsequently, Dr. Thompson and Plaintiff were notified that they would meet

with Ms. Speck, Dr. Lilly, Dean Johnson, and Dr. Minger on the morning of November 20, 2009

to discuss Plaintiff’s spring 2010 schedule. Dr. Thompson and Plaintiff met with Ms. Speck on

or about November 19, 2009, during which time they asked her what had prompted the meeting.

Thereafter, on the morning of November 20, 2009, Ms. Speck sent an e-mail canceling the




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meeting set for that morning. Dr. Thompson then arranged to for Plaintiff and him to meet with

at least Dr. Lilly and Ms. Speck (once again, Dr. Minger refused and/or failed to attend this

meeting; Dr. Minger previously refused and/or failed to meet with Plaintiff on or about

November 10, 2009).

       3.51    At the meeting on or about November 20, 2009, between Plaintiff, Dr. Thompson,

Dr. Lilly, and Ms. Speck, Plaintiff expressed his concerns about the spring 2010 schedule that he

had been provided (the revised spring 2010 schedule given to Plaintiff by Dean Johnson). For

example, one of the classes given to Plaintiff was a class that had not been offered on campus for

many years, and it was not likely not to make (have sufficient students to hold class). In that

regard, Plaintiff simply wanted to know what would happen if that class did not in fact make. As

another example, one of the other classes given to Plaintiff had historically only had an average

enrollment of four students for the past two years, and it too was unlikely to make. Further, a

third class offered to Plaintiff had zero students in previous spring semesters and was, therefore,

unlikely to make. Such classes ultimately did not make, and to date, such classes have not been

replaced and no plan has been established to address the lack of classes.

       3.52    Further, the proposed spring 2010 schedule would also require Plaintiff to develop

new online curriculum, which is commonly referred to as “shells,” for four different courses.

Despite the fact that the customary practice had been that the teacher selected for such classes

was given access to the existing “shells,” per Dean Johnson’s e-mail of November 17, 2009,

Plaintiff was advised that he would not be given access to the existing “shells” and that Plaintiff

was to create his own “shells,” which would take considerable time and effort. Because creating

new “shells” would take considerable time and effort, Plaintiff inquired about whether he would

be compensated for the extra work (which Plaintiff understood to be the typical and historical




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practice of Defendant); however, Plaintiff never received any response. In addition, those who

have discriminated and/or retaliated against Plaintiff in the past are responsible for evaluating the

new “shells” that Plaintiff is being forced to create, as well as Plaintiff’s job performance going

forward.

       3.53      As set forth above, the spring 2010 schedule that Dr. Wimbish, Dean Johnson,

and/or Dr. Minger have created is not the result of any consultation and/or collaboration with

Plaintiff (as required by the Recommendations). Furthermore, earlier this semester, Plaintiff was

informed that the prison classes that he had been teaching during the fall 2009 semester would

not end on time (December 10, 2009). Plaintiff was instructed that he would be required to teach

beyond December 10, 2009 despite the fact that this is out of the ordinary and would require

Plaintiff to teach during the Christmas holidays and break.

       3.54      When Plaintiff asked if he would receive an extra service contract for this

additional work, which is the historical and customary practice for any instructor asked to teach

beyond his or her normal contractual terms, the response was a resounding “no” from Defendant.

However, the reason why this situation arose was because of Defendant’s removal of Plaintiff as

the prison coordinator for the state prison; the class started late because the CVC Administration

chose to unilaterally remove Plaintiff from that position after he filed his original EEOC Charge

and grievance.

       3.55      Earlier this semester, while Plaintiff was waiting for his prison classes to begin for

the fall 2009 semester, Plaintiff worked on the campus of CVC fulfilling his duties, and Plaintiff

notified Defendant of same. Defendant never objected to Plaintiff’s reasonable attempt to fulfill

his contractual duties in this manner.       However, Defendant then contended that Plaintiff’s

previous work does not count so that it could attempt to force Plaintiff to work over the




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Christmas holidays and break without compensation. Recently, Defendant changed its position

yet again and informed Plaintiff that he would not be allowed to teach the prison classes beyond

December 10, 2009, and instead, the CVC Administration decided to hire adjuncts to replace

Plaintiff mid-semester and complete the classes that Plaintiff had been teaching during the fall

2009 semester. This is not in the best interest of the students and is retaliatory as it is designed to

limit Plaintiff’s income.

       3.56    As set forth above, when Plaintiff inquired about extra service for teaching

beyond December 10, 2009, the response was “no;” however, it ultimately cost Defendant the

same amount of money to hire the adjuncts as it would have cost Defendant to issue Plaintiff an

extra service contract for the remaining time. Additionally, and as a response to Defendant’s

denial of extra service hours, Plaintiff intended to work without compensation beyond December

10, 2009, as it was in the best interests of his students for him to remain as their instructor. As a

result, it cost the Defendant more money to hire an adjunct professor to finish teaching the prison

class than it would have if Defendant would have allowed Plaintiff to finish teaching the class.

The only logical explanation for Defendant’s actions and/or conduct is that they were taken

solely for retaliatory purposes.

       3.57    Additionally, Defendant is attempting to limit Plaintiff’s income in retaliation for

opposing racial and/or color discrimination and/or for filing his original EEOC Charge and

grievance by taking away extra service classes that he has historically and customarily taught

and/or by reducing the number of extra service classes that he has historically and customarily

been awarded. Although Defendant may contend that Plaintiff has no right to extra service

classes, in turn, Defendant may not take adverse employment actions, such as taking away and/or

reducing Plaintiff’s extra service classes, for the sole purpose of retaliating against Plaintiff.




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Even though Plaintiff has been provided an interpretation of Recommendation No. 1 (by Mr.

DesPlas) to mean that the intent was to ensure that Plaintiff’s base load classes were all classes

taught on CVC’s campus and not to prevent Plaintiff from teaching prison classes as extra

service, Defendant has denied extra service at the prison.

       3.58    Once again, the spring 2010 schedule assigned to Plaintiff was not the result of

any collaboration and/or consultation with Plaintiff. According to Recommendation No. 2,

Plaintiff’s class schedule should not only result from collaboration and consultation, but also, it

should meet the students’ needs; however, removing Plaintiff as the instructor from three of his

classes mid-semester does not meet the students’ needs; it only serves the vindictive purposes of

a select few. Although Dr. Minger eventually (but only very recently) met with Plaintiff, as she

was required to do under the Recommendations, by the time Dr. Minger and Plaintiff met, all

decisions had already been made by the CVC Administration with respect to Plaintiff’s spring

2010 class schedule.

       3.59    Also, according to Recommendation No. 3, Plaintiff, Dr. Minger, and Dean

Johnson were directed to meet regularly (at least monthly) with an ombudsperson; however, to

date, no meetings have occurred and no meetings have been scheduled, which is no surprise due

to Dr. Minger’s previous attitude and unwillingness to meet with Plaintiff, as previously set forth

above. Additionally, rather than use Dr. Tully (as suggested by the Recommendations), Dr.

Wimbish, Dean Johnson, and/or Dr. Minger have refused to allow Dr. Tully to serve as the

ombudsperson, despite the fact that Plaintiff and Dr. Wimbish used Dr. Tully, in 2008, to serve

as the ombudsperson at an early stage in this matter. Currently, the CVC Administration has

insisted upon and still insists upon using a third-party company that is unfamiliar with

Defendant’s policies, procedures, guidelines, rules, and/or regulations.




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       3.60    Additionally, despite Recommendation No. 4 and the fact that Plaintiff has

submitted requests and/or applications for a transfer to another college within DCCCD,

Defendant has informed Plaintiff that Defendant cannot do anything to assist Plaintiff because it

does not have a “Special Transfer” Policy. However, Defendant does in fact have such a policy,

and it has been utilized in the past. When the “Special Transfer” Policy was pointed out to

Defendant, Defendant simply responded that it was not meant for a situation such as the one that

Plaintiff is currently experiencing. Further, Plaintiff applied for a transfer to Richland College, a

part of DCCCD, several months ago. The ad for the transfer stated that “[t]he College will

generally require one (1) to two (2) weeks for review and consideration of internal transfers,”

and “[u]pon final decision, internal applicants will be notified of next actions (i.e., transfer or

external advertising);” however, after several months, Plaintiff was only just recently asked to

interview for the position, rather than being notified of a transfer or that the position is being

advertised, and he was quickly notified that he would not be transferred to the Richland College

campus. Upon information and belief, this decision was made subsequent to Dr. Minger making

disparaging remarks about Plaintiff to administrators from Richland College.

       3.61    In addition to all of the foregoing matters, Defendant has taken additional

discriminatory and/or retaliatory actions against Plaintiff since he filed his original EEOC

Charge and original grievance. For example, Defendant purposefully and/or intentionally chose

not to provide Plaintiff with his fall 2009 schedule until the very last minute (despite repeated

requests for his fall 2009 schedule), and as a direct result, Plaintiff was unable to obtain extra

service classes that he had historically taught in the past, and he has been damaged financially.

Also, despite the Recommendations, the CVC Administration purposefully chose to disregard

the Recommendations as long as they could, and as a result of the delay, Plaintiff did not receive




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his spring 2010 schedule until the last minute, which prohibited Plaintiff from obtaining extra

service classes that he had historically taught in the past, damaging Plaintiff financially.

       3.62     Additionally, this past semester, Dean Johnson informed a student that Plaintiff

had not made a voluntary charitable contribution (which are supposed to be anonymous), and

Dean Johnson provided that student with Plaintiff’s personal and private contact information,

which resulted in the student calling Plaintiff at home to inquire about the contribution. Further,

Dr. Minger recently sent Plaintiff a very derogatory and threatening e-mail (she has subsequently

sent an e-mail apologizing for her inappropriate conduct, but it should have never been sent in

the first place). Moreover, this past semester, the CVC Administration began retaliating against

Plaintiff’s spouse, who is also an instructor at CVC under the control and supervision of Dr.

Wimbish.      Because of Plaintiff’s original EEOC Charge and original grievance, the CVC

Administration took away a class from Plaintiff’s spouse that she had taught for many years

without a single student complaint and with no negative performance reviews. The only reason

proffered by the CVC Administration for this adverse and/or retaliatory action is that CVC is

going in a different direction. The foregoing retaliation has resulted in financial damage to

Plaintiff and his family, and it will continue for the foreseeable future.

       3.63     Based upon the foregoing conduct, constituting continued discriminatory and/or

retaliatory conduct by Defendant against Plaintiff, in or around December 2009, Plaintiff

supplemented his original EEOC Charge and his dually-filed complaint and/or charge with the

Texas Workforce Commission, Civil Rights Division.

       3.64     Dr. Tully, acting as the personal ombudsperson of Dr. Lassiter, asked Plaintiff to

meet with her on or about January 11, 2009. Dr. Thompson attended the meeting with Plaintiff,

and during that meeting, Dr. Tully stated that Dr. Lassiter viewed the matter as a “campus issue”




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and he would, therefore, not intervene. Further, Dr. Tully stated that Plaintiff would be assigned

to CVC under the control of Dr. Wimbish for the indefinite future.

       3.65    The foregoing discriminatory and/or retaliatory conduct has damaged Plaintiff

physically, emotionally, and mentally. Such actions have damaged Plaintiff financially, but

more importantly, they have resulted in Plaintiff suffering from undue stress, which has caused

Plaintiff to seek professional counseling to cope with the traumatic impact on Plaintiff, his

family, and his career.

       3.66    The foregoing conduct of Defendant demonstrates a policy, pattern, and/or history

of discrimination and/or retaliation against Plaintiff. Since the time when Plaintiff first filed his

original EEOC Charge and original grievance, Plaintiff has continuously been subjected to race

and/or color discrimination, as well as retaliation and adverse employment actions, by Defendant

and the CVC Administration, which is still ongoing. Specifically, Defendant, through the CVC

Administration, has created a policy of racial discrimination and/or retaliation against Plaintiff.

This policy has been carried out by Dr. Wimbish, Dean Johnson, Dr. Minger, and/or Dr. Jones.

Defendant and the CVC Administration have retaliated against Plaintiff for opposing the race

and/or color discrimination, filing grievances with Defendant based upon such discriminatory

and/or retaliatory conduct, and/or filing the original EEOC Charge. The foregoing conduct of

Defendant constitutes unlawful employment practices, which has adversely affected Plaintiff’s

employment with Defendant and injured and/or damaged Plaintiff.

                                              IV.
                                       CAUSES OF ACTION

       4.1     Alternative Pleadings. To the extent necessary, each of the claims set forth

below is pleaded in the alternative.




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A.        Count One:

                       Violation of Title VII of the Civil Rights Act of 1964:
                                  Discrimination and Retaliation.

          4.2   To the extent necessary, Paragraphs 1.1 through 4.1 of this Complaint are hereby

referenced and fully incorporated herein by this specific reference, as though fully set forth

herein.

          4.3   As set forth above, Defendant’s actions amount to discrimination and retaliation,

and constitute violations under Title VII. Defendant is prohibited from discriminating against

Plaintiff based on his race and/or color under Title VII, and further, Defendant is prohibited from

retaliating against Plaintiff because he opposed such discrimination. Therefore, Defendant has

violated Title VII.

          4.4   As a result of the forgoing, Plaintiff has been injured and/or damaged, and

Plaintiff hereby seeks to recover any and all remedies afforded and/or available under law and/or

in equity, including but not limited to his damages resulting from said conduct by Defendant in

an amount to be proven and/or determined at the time of trial, injunctive relief, equitable relief,

and his attorneys’ fees and costs.

B.        Count Two:

                        Violation of Chapter 21 of the Texas Labor Code:
                                 Discrimination and Retaliation.

          4.5   To the extent necessary, Paragraphs 1.1 through 4.4 of this Complaint are hereby

referenced and fully incorporated herein by this specific reference, as though fully set forth

herein.

          4.6   As set forth above, Defendant’s actions amount to discrimination and retaliation,

and constitute violations under Chapter 21 of the Texas Labor Code. Defendant is prohibited




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from discriminating against Plaintiff based on his race and/or color under Chapter 21 of the

Texas Labor Code, and further, Defendant is prohibited from retaliating against Plaintiff because

he opposed such discrimination. Therefore, Defendant has violated Chapter 21 of the Texas

Labor Code.

          4.7    As a result of the forgoing, Plaintiff has been injured and/or damaged, and

Plaintiff hereby seeks to recover any and all remedies afforded and/or available under law and/or

in equity, including but not limited to his damages resulting from said conduct by Defendant in

an amount to be proven and/or determined at the time of trial, injunctive relief, equitable relief,

and his attorneys’ fees and costs.

C.        Count Three:

      Violations of the United States Constitution, First and Fourteenth Amendments,
                   and the Texas Constitution, Article I, § 8: Free Speech.

          4.8    To the extent necessary, Paragraphs 1.1 through 4.7 of this Complaint are hereby

referenced and fully incorporated herein by this specific reference, as though fully set forth

herein.

          4.9    As set forth above, Defendant’s actions constitute violations of 42 U.S.C. § 1983,

which prevents Defendant from depriving Plaintiff of his rights, privileges, and/or immunities

secured under the United States Constitution.

          4.10   Defendant deprived Plaintiff of his right to free speech, as secured by the First

Amendment to the United States Constitution and made applicable to the States by the

Fourteenth Amendment. Additionally and/or alternatively, Defendant deprived Plaintiff of his

right to free speech, as secured by Article I, Section 8 of the Texas Constitution.

          4.11   Defendant violated Plaintiff’s right to free speech when Defendant punished

and/or retaliated against him when Plaintiff opposed and spoke out against the discriminatory



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employment practices and actions being taken by Defendant. Plaintiff spoke out about and

complained of racial and/or color discrimination as to him and racial and/or color discrimination

that was becoming and/or had become the policy, practice, and/or custom at CVC through the

CVC Administration and/or that were made, an act of, caused to happen, and/or ratified by

policymakers for Defendant, through action and/or inaction. Defendant violated Plaintiff’s right

to free speech when Defendant took adverse and/or retaliatory actions against Plaintiff because

of Plaintiff’s complaints of unlawful discrimination and retaliation, which Plaintiff made

internally through Defendant’s grievance procedure, as well as externally to the EEOC and

outside his general and/or direct chain of command and/or outside the course and scope of his

normal duties. Defendant’s conduct constitutes violations of Plaintiff’s right to free speech.

          4.12   As a result of the forgoing, Plaintiff has been injured and/or damaged, and

Plaintiff hereby seeks to recover any and all remedies afforded and/or available under law and/or

in equity, including but not limited to his damages resulting from said conduct by Defendant in

an amount to be proven and/or determined at the time of trial, injunctive relief, equitable relief,

and his attorneys’ fees and costs.

D.        Count Four:

       Violations of the United States Constitution, Fifth and Fourteenth Amendments,
     and the Texas Constitution, Article I, § 19: Procedural and Substantive Due Process.

          4.13   To the extent necessary, Paragraphs 1.1 through 4.12 of this Complaint are hereby

referenced and fully incorporated herein by this specific reference, as though fully set forth

herein.

          4.14   As set forth above, Defendant’s actions constitute violations of 42 U.S.C. § 1983,

which prevents Defendant from depriving Plaintiff of his rights, privileges, and/or immunities

secured under the United States Constitution.



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       4.15    Defendant deprived Plaintiff of his right to procedural and substantive due

process, as secured by the Fifth and Fourteenth Amendments to the United States Constitution.

Additionally and/or alternatively, Defendant deprived Plaintiff of his right to procedural and

substantive due process, as secured by Article I, Section 19 of the Texas Constitution.

       4.16    Defendant violated Plaintiff’s right to procedural due process by depriving

Plaintiff of his protected property interest in his employment contracts and agreements with

Defendant and/or the Recommendations, without due process and/or due course of law.

Additionally or alternatively, Defendant violated Plaintiff’s right to procedural due process by

diminishing Plaintiff’s protected property interest in his employment contracts and agreements

with Defendant and/or the Recommendations, without due process and/or due course of law.

Additionally or alternatively, Defendant violated Plaintiff’s right to procedural due process by

depriving Plaintiff of his protected liberty interest in his good name and reputation, as well as his

ability to pursue his chosen profession, without due process and/or due course of law.

Additionally or alternatively, Defendant violated Plaintiff’s right to procedural due process by

diminishing Plaintiff’s protected liberty interest in his good name and reputation, as well as his

ability to pursue his chosen profession, without due process and/or due course of law.

Additionally or alternatively, Defendant violated Plaintiff’s right to procedural due process by

depriving, diminishing, and/or interfering with Plaintiff’s right to free speech, his right to be free

from discrimination based on race and/or color, and/or his right to be free from retaliation for

opposing unlawful discrimination, without due process and/or due course of law. Plaintiff was

entitled to a hearing and an opportunity for redress of his claims of unlawful discrimination and

retaliation, which are provided for by law; however, Defendant failed and/or refused to provide

Plaintiff with the minimal procedural due process and/or the procedural redress system




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incorporated into Defendant’s policies, procedures, guidelines, rules, and/or regulations,

effectively denying Plaintiff the due process rights to which he was entitled, thus, violating his

right to procedural due process guaranteed by the United States and Texas Constitutions.

       4.17    Additionally or alternatively, Defendant violated Plaintiff’s right to procedural

due process by taking adverse and/or retaliatory employment actions against him, without cause

and/or for no other reason than because of unlawful discrimination and/or Plaintiff’s opposition

to Defendant’s unlawful discrimination. Defendant’s failure and/or refusal to provide a non-

discriminatory cause and/or reasons for taking adverse and/or retaliatory employment actions

against Plaintiff, in conjunction with Defendant’s failure and/or refusal to offer the proper

procedural review of Plaintiff’s allegations, constitute violations of Plaintiff’s constitutional right

to procedural due process.

       4.18    Moreover, Plaintiff also possesses a claim against Defendant for violation of

substantive due process for Defendant’s arbitrary, capricious, unreasonable, and/or irrational

actions against taken him. Additionally or alternatively, Plaintiff has been deprived of his

protected and fundamental rights without due process of laws in an arbitrary, capricious,

unreasonable, and/or irrational manner.

       4.19    Defendant’s actions and/or conduct further constitute a deprivation of due

process, as each and all of the above acts and/or omissions were made in recognition of, as a part

of, and/or as a result of the policies, practices, and/or customs of Defendant and were made, an

act of, caused to happen, and/or ratified by policymakers for Defendant, through action and/or

inaction. Such actions and/or conduct were non-legislative in nature and deprived Plaintiff of his

fundamental rights and/or property and/or liberty interests. Additionally or alternatively, such

actions and/or conduct taken by Defendant against Plaintiff were non-legislative and all were




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arbitrary, capricious, unreasonable, and/or irrational state action, depriving Plaintiff of his

fundamental rights and/or property and/or liberty interests.

          4.20     As a result of the forgoing, Plaintiff has been injured and/or damaged, and

Plaintiff hereby seeks to recover any and all remedies afforded and/or available under law and/or

in equity, including but not limited to his damages resulting from said conduct by Defendant in

an amount to be proven and/or determined at the time of trial, injunctive relief, equitable relief,

and his attorneys’ fees and costs.

E.        Count Five:

                 Violations the United States Constitution, Fourteenth Amendment,
                 and the Texas Constitution, Article I §§ 3 and 3a: Equal Protection.

          4.21     To the extent necessary, Paragraphs 1.1 through 4.20 of this Complaint are hereby

referenced and fully incorporated herein by this specific reference, as though fully set forth

herein.

          4.22     As set forth above, Defendant’s actions constitute violations of 42 U.S.C. § 1983,

which prevents Defendant from depriving Plaintiff of his rights, privileges, and/or immunities

secured under the United States Constitution.

          4.23     Defendant deprived Plaintiff of his right to equal protection, as secured by the

Fourteenth Amendment to the United States Constitution. Additionally and/or alternatively,

Defendant deprived Plaintiff of his right to equal protection, as secured by Article I, Sections 3

and 3a of the Texas Constitution.

          4.24     Defendant violated Plaintiff’s right to equal protection by failing and/or refusing

to provide Plaintiff equal treatment based upon Plaintiff’s race and/or color and/or by showing

preferential and/or special treatment to African American employees. Defendant deprived and/or

diminished Plaintiff’s right to equal protection by discriminating against him based upon his race



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and/or color. Additionally or alternatively, Defendant’s conduct constituted and/or arose to a

pattern of repeated discrimination and/or Defendant’s conduct has an opportunity to be repeated

against persons similarly situated to Plaintiff. Defendant’s conduct constitutes violations of

Plaintiff’s right to equal protection.

           4.25     As a result of the forgoing, Plaintiff has been injured and/or damaged, and

Plaintiff hereby seeks to recover any and all remedies afforded and/or available under law and/or

in equity, including but not limited to his damages resulting from said conduct by Defendant in

an amount to be proven and/or determined at the time of trial, injunctive relief, equitable relief,

and his attorneys’ fees and costs.

F.         Count Six:

                                         Violations of 42 U.S.C. § 1981.

           4.26     To the extent necessary, Paragraphs 1.1 through 4.25 of this Complaint are hereby

referenced and fully incorporated herein by this specific reference, as though fully set forth

herein.

           4.27     As set forth above, Defendant’s actions constitute violations of 42 U.S.C. § 1981,5

which entitles Plaintiff to the full and equal benefit of all laws and proceedings for the security of

persons and property as is enjoyed by all citizens, and shall be subject to like punishment, pains,

and penalties of every kind, and to no other. Additionally or alternatively, Defendant’s conduct

against Plaintiff violated his rights protected by 42 U.S.C. § 1981 because such conduct by

Defendant constituted impairment by discrimination and/or impairment under color of State law.

           4.28     As a result of the forgoing, Plaintiff has been injured and/or damaged, and

Plaintiff hereby seeks to recover any and all remedies afforded and/or available under law and/or


5
    To the extent necessary, this claim is brought through and/or by 42 U.S.C. § 1983.



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in equity, including but not limited to his damages resulting from said conduct by Defendant in

an amount to be proven and/or determined at the time of trial, injunctive relief, equitable relief,

and his attorneys’ fees and costs.

G.         Count Seven:

                                         Violations of 42 U.S.C. § 1985.

           4.29     To the extent necessary, Paragraphs 1.1 through 4.28 of this Complaint are hereby

referenced and fully incorporated herein by this specific reference, as though fully set forth

herein.

           4.30     As set forth above, Defendant’s actions constitute violations of 42 U.S.C. § 1985,6

which prohibits Defendant from depriving Plaintiff of his rights and privileges afforded under

law, and as such, Defendant is and was prohibited from conspiring for the purpose of depriving,

either directly or indirectly, Plaintiff of the equal protection of the laws, or of equal privileges

and immunities under the laws. Because Defendant did and/or caused to be done, acts in

furtherance of the deprivation and discrimination, and Plaintiff has been injured in his person

and/or property, and/or has been deprived of having and exercising rights and/or privileges of a

citizen of the United States, Plaintiff brings this action for the recovery of damages occasioned

by such injury or deprivation, against Defendant.

           4.31     As a result of the forgoing, Plaintiff has been injured and/or damaged, and

Plaintiff hereby seeks to recover any and all remedies afforded and/or available under law and/or

in equity, including but not limited to his damages resulting from said conduct by Defendant in

an amount to be proven and/or determined at the time of trial, injunctive relief, equitable relief,

and his attorneys’ fees and costs.



6
    To the extent necessary, this claim is brought through and/or by 42 U.S.C. § 1983 and/or 42 U.S.C. § 1981.


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H.        Count Eight:

           Violation of Chapter 106 of the Texas Civil Practices and Remedies Code:
                         Discrimination Because of Race and/or Color.

          4.32   To the extent necessary, Paragraphs 1.1 through 4.31 of this Complaint are hereby

referenced and fully incorporated herein by this specific reference, as though fully set forth

herein.

          4.33   As set forth above, Defendant’s actions constitute violations of Chapter 106 of the

Texas Civil Practices and Remedies Code, which prevents and/or prohibits Defendant from

refusing to grant a benefit to Plaintiff, imposing an unreasonable burden on Plaintiff, and/or

refusing to award a contract to Plaintiff because of his race and/or color.

          4.34   As a result of the forgoing, Plaintiff has been injured and/or damaged, and

Plaintiff hereby seeks to recover any and all remedies afforded by Chapter 106 of the Texas Civil

Practice and Remedies Code and/or under law and/or in equity, including but not limited to his

damages resulting from said conduct by Defendant in an amount to be proven and/or determined

at the time of trial, injunctive relief, and his attorneys’ fees and costs.

I.        Count Nine:

                                         Breach of Contract.

          4.35   To the extent necessary, Paragraphs 1.1 through 4.34 of this Complaint are hereby

referenced and fully incorporated herein by this specific reference, as though fully set forth

herein.

          4.36   As set forth above, Defendant breached Plaintiff’s employment contracts and/or

agreement by failing and/or refusing to abide by and/or comply with the terms thereof and/or by

failing and/or refusing to abide by and/or comply with the terms of the Recommendations.

Additionally or alternatively, because Defendant’s policies, procedures, guidelines, rules, and/or



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regulations provide express contractual terms regarding Plaintiff’s employment with Defendant,

Defendant breached Plaintiff’s employment contract by not adhering to its own policies,

procedures, guidelines, rules, and/or regulations designated to apply to specific incidences as

alleged herein, including but not limited to the prohibition of consideration of race and/or color

in decisions regarding Plaintiff’s employment with Defendant. Defendant violated its own

policies, procedures, guidelines, rules, and/or regulations by using race and/or color in making

determinations about Plaintiff’s employment with Defendant.              Defendant’s conduct and/or

actions constitute a breach of Plaintiff’s employment contracts and/or agreements.

          4.37   As a result of Defendant’s breach, Plaintiff was denied rights, benefits, and/or

remedies contractually afforded to Plaintiff by his contracts and/or agreements, as well as by

Defendant’s policies, procedures, guidelines, rules, and/or regulations.

          4.38   As a result of the foregoing, Plaintiff has been injured and/or damaged, and

Plaintiff hereby seeks to recover any and all remedies afforded by Chapter 38 of the Texas Civil

Practice and Remedies Code and/or under law and/or in equity, including but not limited to his

damages resulting from said breach by Defendant in an amount to be proven and/or determined

at the time of trial, equitable relief, and his attorneys’ fees and costs.

J.        Count Ten:

                                Federal Declaratory Judgment Act.

          4.39   To the extent necessary, Paragraphs 1.1 through 4.38 of this Complaint are hereby

referenced and fully incorporated herein by this specific reference, as though fully set forth

herein.

          4.40   Pursuant to 28 U.S.C. §2201, Plaintiff seeks judgment declaring that Defendant

violated Plaintiff’s constitutional rights, violated and/or breached Plaintiff’s employment




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contracts and/or agreements, violated its own policies, procedures, guidelines, rules, and/or

regulations, and/or violated state and/or federal law.

                                             V.
                                      REQUESTED RELIEF

       5.1     As the direct and/or proximate result of the actions and/or conduct of Defendant

complained of herein, Plaintiff has suffered, and continues to suffer, from intentional

discrimination and/or discriminatory treatment, as well as adverse employment actions and

retaliation, which have damaged and caused, and continues to damage and cause, Plaintiff to

experience damages, emotional distress, and mental anguish. Additionally, Defendant violated

Plaintiff’s constitutional rights as set forth more specifically above. As such, Plaintiff seeks to

recover from Defendant, his actual and/or economic damages occasioned by the wrongful acts of

Defendant herein described, in amounts that are within the jurisdictional limits of this Court to be

proven and/or determined at the time of trial.

       5.2     As to claims under Title VII, Plaintiff herein sues Defendant pursuant to 42

U.S.C. §§ 2000e et seq. All of Defendant’s conduct was under color of law. Accordingly,

Plaintiff seeks recovery of the full measure of relief and damages provided by Title VII against

Defendant, including but not necessarily limited to damages for his loss of wages, past and

future, the harm to his personal and professional reputation, out-of-pocket losses and/or

expenses, emotional pain and suffering, inconvenience, mental anguish, and other pecuniary and

non-pecuniary losses in an amount within the jurisdictional limits of this Court to be proven at

trial. Plaintiff also seeks back pay and front pay damages from Defendant in the amount equal to

the difference between the wages actually received by Plaintiff and the wages Plaintiff would

have received had he not been discriminated against, together with an additional amount as




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compensatory damages, in addition to reasonable and necessary attorneys’ fees and any and all

other equitable, injunctive, and compensatory relief which may be available.

        5.3     As to claims under Chapter 21 of the Texas Labor Code, Plaintiff herein sues

Defendant pursuant to Chapter 21 of the Texas Labor Code, including but not limited to Sections

21.051, 21.055, 21.254, 21.258, 21.2585, and 21.259 of the Texas Labor Code.                         All of

Defendant’s conduct was under color of law. Accordingly, Plaintiff seeks recovery of the full

measure of relief and damages provided by Chapter 21 of the Texas Labor Code against

Defendant, including but not necessarily limited to damages for his loss of wages, past and

future, the harm to his personal and professional reputation, out-of-pocket losses and/or

expenses, emotional pain and suffering, inconvenience, mental anguish, and other pecuniary and

non-pecuniary losses in an amount within the jurisdictional limits of this Court to be proven at

trial. Plaintiff also seeks back pay and front pay damages from Defendant in the amount equal to

the difference between the wages actually received by Plaintiff and the wages Plaintiff would

have received had he not been discriminated against, together with an additional amount as

compensatory damages, in addition to reasonable and necessary attorneys’ fees and any and all

other equitable, injunctive, and compensatory relief which may be available.

        5.4     As to claims for federal violations of the United States Constitution and federal

statutes, Plaintiff herein sues Defendant pursuant to 42 U.S.C. § 1983.7 All of Defendant’s

conduct was under color of law. Accordingly, Plaintiff seeks recovery of the full measure of

relief and damages against Defendant, including but not limited to compensatory damages and/or

nominal damages (including mental anguish and emotional distress damages), consequential and




7
 To the extent necessary, as to claims for violations of 42 U.S.C. §§ 1981 and/or 1985, Plaintiff herein sues
Defendant pursuant to 42 U.S.C. § 1983.


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incidental damages, and any and all other equitable, injunctive, and compensatory relief which

may be available under law and/or in equity.

       5.5     As to claims for state violations of the Texas Constitution, Plaintiff herein sues

Defendant pursuant to the Texas Constitution. Accordingly, Plaintiff seeks recovery of all

equitable relief which may be available under law and/or in equity.

       5.6     As to claims for violations of Chapter 106 of the Texas Civil Practices and

Remedies Code, Plaintiff seeks recovery of any and all remedies afforded by Chapter 106 of the

Texas Civil Practice and Remedies Code and/or under law and/or in equity, including but not

limited to his damages resulting from said conduct by Defendant in an amount to be proven

and/or determined at the time of trial, injunctive relief, and his attorneys’ fees and costs.

       5.7     As to claims for breach of employment contract, Plaintiff sues Defendant pursuant

to Texas law and Chapter 38 of the Texas Civil Practice and Remedies Code. Because Plaintiff

has suffered substantial damages from Defendant’s breach, Plaintiff seeks recovery of any and

all remedies afforded by Chapter 38 of the Texas Civil Practice and Remedies Code and/or under

law and/or in equity, including but not limited to compensatory damages, consequential and

incidental damages, attorneys’ fees, and any and all other equitable and compensatory relief

which may be available to and/or recoverable by Plaintiff.

       5.8     As to claims under the Federal Declaratory Judgment Act, Plaintiff herein sues

Defendant pursuant to 28 U.S.C. §2201, and as such, Plaintiff seeks a judgment declaring that

Defendant violated Plaintiff’s constitutional rights, violated and/or breached Plaintiff’s

employment contracts and/or agreements, violated its own policies, procedures, guidelines, rules,

and/or regulations, and/or violated state and/or federal law.




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        5.9     In addition to Plaintiff's damages sought herein, Plaintiff seeks an order from this

Court enjoining Defendant from discriminating against its employees based on their race and/or

color and from retaliating against its employees for opposing unlawful discrimination. Given the

constitutional violations of Defendant, such injunctive relief is available. Plaintiff has suffered

and will suffer irreparable harm if Defendant is not enjoined as requested, and further, Plaintiff is

without any other adequate remedy at law.

                                            VI.
                                FEES, COSTS, AND INTEREST

        6.1     Plaintiff has retained the law firm of Hill Gilstrap, P.C. to represent him in

connection with this matter, and has agreed to pay for such reasonable and necessary services. In

addition to and without waiving and/or limiting any other relief requested in this Complaint,

Plaintiff is entitled to and seeks to recover his reasonable and necessary attorneys’ fees and costs

incurred and to be incurred in bringing this suit and in all appeals of this suit, as permitted by

law, in equity, and/or pursuant to 42 U.S.C. §§ 1981, 1983, 1988(b), and 2000e-5(k), TEX. LAB.

CODE § 21.259, and/or Chapters 38 and 106 of the Texas Civil Practice and Remedies Code.

        6.2     Also, pursuant to 42 U.S.C. § 1988(c) and 2000e-5(k) and/or TEX. LAB. CODE §

21.259, Plaintiff seeks to recover any and all expert fees, which he incurs and/or may incur in

bringing this suit.

        6.3     Additionally, Plaintiff seeks to recover costs of court, along with pre-judgment

and post-judgment interest at the maximum rate permitted by law.

                                          VII.
                                 CONDITIONS PRECEDENT

        7.1     All conditions precedent to the relief being sought by Plaintiff in this Complaint

have been performed, have occurred, and/or have been waived.




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                                          VIII.
                                  DEMAND FOR JURY TRIAL

        8.1     Pursuant to the Rule 38 of the Federal Rules of Civil Procedure, Plaintiff requests

trial by jury and will tender the requisite fee.

                                              PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon final hearing,

Plaintiff recover judgment against Defendant and be awarded:

        (1)     any and all amounts recoverable and/or recognizable as damages under law and/or
                in equity, resulting and/or occasioned by the wrongful acts and/or conduct of
                Defendant (as set forth above more specifically);

        (2)     injunctive relief to the extent permitted by law and/or equity;

        (3)     equitable relief to the extent permitted by law and/or equity;

        (4)     declaratory relief as requested herein;

        (5)     his litigation expenses and costs, including but not limited to his reasonable and
                necessary attorneys’ fees and costs and any applicable expert fees;

        (6)     pre-judgment and post-judgment interest at the maximum rate permitted by law;

        (7)     costs of court; and

        (8)     such other and further relief, both general and special, at law and in equity, to
                which Plaintiff may show himself to be justly entitled.




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                                              Respectfully submitted,


                                              _/s/ Frank Hill_____________________
                                              Frank Hill                 09632000
                                              Michael Y. Kim             24039960

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                                              fhill@hillgilstrap.com
                                              mkim@hillgilstrap.com

                                              ATTORNEYS FOR PLAINTIFF



                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 10, 2010, I electronically filed Plaintiff’s First Amended

Complaint with the Clerk for the U.S. District Court, Northern District of Texas, using the

CM/ECF system, and on February 10, 2010, I forwarded a file-marked copy of such filing to the

following persons via certified mail, return receipt requested:

       Dr. Wright Lowenstein Lassiter Jr., Chancellor
       Dallas County Community College District
       1601 South Lamar Street
       Dallas, Texas 75215

       Robert J. Young, General Counsel
       Dallas County Community College District
       1601 South Lamar Street, Suite 208
       Dallas, Texas 75215.


                                              _/s/ Michael Y. Kim________________
                                              Michael Y. Kim




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